Case 1:21-cv-22970-DPG Document 12 Entered on FLSD Docket 09/27/2021 Page 1 of 1




                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                             CASE NO.: 1:21-CV-22970-GAYLES/TORRES

  CARLOS RODRIGUEZ-PENA,

             Plaintiff,

  vs.

  THE GLASS DOOR COMPANY,
  INC D/B/A DOORS 22 AND
  LEON BELL,

        Defendants.
  ______________________________/

         PLAINTIFF’S NOTICE OF STRIKING PLAINTIFF’S CERTIFICATE OF
                            INTERESTED PARTIES

             Plaintiff, Carlos Rodriguez-Pena, notices the Court and all parties of his striking Plaintiff’s

  Certificate of Interested Parties [ECF No. 8] as having been filed in error, document not related

  to case.

             Dated this 27th day of September, 2021.

                                                            Respectfully submitted,

                                                            Brian H. Pollock, Esq.
                                                            Brian H. Pollock, Esq. (174742)
                                                            brian@fairlawattorney.com
                                                            FAIRLAW FIRM
                                                            135 San Lorenzo Ave,
                                                            Suite 770
                                                            Miami, FL 33146
                                                            Tel: 305.230.4884
                                                            Counsel for Plaintiff




                                                       1

                             135 San Lorenzo Avenue, Suite 770, Miami, Florida 33146
                                       TEL 305.230.4884 FAX 305.230.4844
                                            www.fairlawattorney.com
